        Case 1:13-cr-00220-JRH-BKE Document 364 Filed 08/29/14 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION




UNITED STATES OF AMERICA

v.

                                                              CR 1:13-220
EDUARDO JUAREZ GALLEGOS




                 ORDER ON MOTION FOR LEAVE OF ABSENCE



        David P. Dekle, having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

        IT IS HEREBY ORDERED THAT David P. Dekle be granted leave of

absence for the following period: September 11, 2014 through September 17,

2014.

        This J<3 aay ofAugust, 2014.




                                       HONORABLE J. RAN0AE HALL
                                       United §iates District Judge
                                                 District of Georgia
